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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 95-605-CR-SEITZ

   UNITED STATES OF AMERICA,

   v.

   FRANCISCO SALDANA,

          Defendant.
                                                 /

            GOVERNMENT’S MOTION TO DISMISS OR IN THE ALTERNATIVE
              TO STAY DEFENDANT’S MOTION FOR RECONSIDERATION

          The United States of America, through its undersigned Assistant United States Attorney,

   moves to dismiss defendant, Francisco Saldana’s Motion for Reconsideration (DE 1372) or in the

   alternative to stay the briefing schedule pending resolution of his appeals in Eleventh Circuit Case

   No. 20-14490 and Case No. 20-14632.

          Based upon the pending appeals of the district court’s denial of Saldana’s motion to reduce

   his sentence pursuant to Section 404 of the First Step Act (DE 1349; DE 1353; DE 1354) and the

   district court’s denial of his motion for compassionate release pursuant to Section 603 of the First

   Step Act (DE 1350; DE 1361; DE 1363), the district court lacks jurisdiction to consider the merits

   of Saldana’s motion for reconsideration of the order denying his motion to reduce his sentence

   pursuant to Section 404 of the First Step Act. Thus, the government requests dismissal of the

   pending motion, or in the alternative, a stay of further briefing and resolution of the motion until

   completion of the Saldana’s appeals in Case No. 20-14490 and Case No. 20-14632.
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                                           BACKGROUND

          In May of 1996, a jury in the Southern District of Florida convicted Francisco Saldana of

   conspiracy to possess with the intent to distribute cocaine, in violation of 21 U.S.C. §§ 841(a)(1),

   846 (Count 1); possession with intent to distribute cocaine, in violation of 21 U.S.C. § 841(a)(1)

   (Counts 4, 12, 13, 15, 18); use of a firearm during and in relation to a drug trafficking crime, in

   violation of 18 U.S.C. § 924(c) (Counts 7, 19); possession of a firearm by a convicted felon, in

   violation of 18 U.S.C. § 922(g)(1) (Counts 5, 20); and engaging in a continuing criminal enterprise,

   in violation of 21 U.S.C. § 848 (Count 21) (DE 185; DE 360). The jury acquitted him of one of

   the § 924(c) counts (id.).

          On July 26, 1996, the district court sentenced Saldana to four concurrent terms of life

   imprisonment as to Counts 1, 4, 12, and 15; four concurrent terms of 10 years in prison as to Counts

   5, 13, 18, and 20; a consecutive term of 5 years as to Count 7; and a consecutive term of 10 years

   as to Count 19 (DE 473; DE 536; DE 569). In addition, the district court imposed terms of

   supervised release and a special assessment (id.). This Court affirmed Saldana’s conviction and

   sentence in Eleventh Circuit Case No. 96-4993-DD (DE 660).

          Beginning in April 2019, Saldana filed a counselled motion and reply for his release

   pursuant to Section 404 of the First Step Act of 2018 (DE 1269; DE 1274) which motion the

   government opposed (DE 1271). The district court denied Saldana’s motion to reduce his sentence

   pursuant to Section 404 of the First Step Act on November 25, 2020 (DE 1349). In so doing, the

   district court noted that the “Superseding Indictment specified only a “detectable amount” of the

   drugs involved, and the jury’s verdict made no determination regarding the amounts. The

   Presentence Investigation Report (“PSI”), however, calculated the crack cocaine weight to be “at

   least 1.5 kilograms” [PSI ¶ 46]. The sentencing court adopted the PSI in calculating a sentence”



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   (DE 1349:2). The district court then held that “[u]nder United States v. Jones, 962 F.3d 1290,

   1298 (11th Cir. 2020), [it] is bound by the drug quantity determination made by the sentencing

   court. Because that earlier determination controls any consideration of a sentence reduction,

   Defendant’s Motion must be denied” (id. at 1, 6).

          On November 30, 2020, Saldana, through counsel, filed a Notice of Appeal of the denial

   of his Section 404 motion to reduce sentence (DE 1353) which was docketed as Eleventh Circuit

   Case No. 20-14490 on December 2, 2020 (DE 1354). Despite that notice, on January 5, 2021,

   Saldana filed a pro se motion for reconsideration of the denial of his Section 404 motion for

   sentence reduction (DE 1372).

          Meanwhile, in March 2020, Saldana also filed a counselled motion and reply seeking

   immediate release based upon the health risks arising from the Coronavirus Disease (“COVID-

   19”) (DE 1319; DE 1322) which motion the government opposed (DE 1321). Saldana then filed

   another counseled motion for compassionate release and additional pleadings in support of his

   motion (DE 1329; DE 1334, DE 1341, DE 1344-5, DE 1347). The government again opposed the

   motion for release (DE 1332). The district court held two telephonic hearings (DE 1340; DE 1343)

   and then denied the motion for compassionate release pursuant to Section 603 of the First Step Act

   on November 25, 2020 (DE 1350).

          On December 9, 2020, Saldana, through counsel, filed a Notice of Appeal of the denial of

   his Section 603motion to reduce sentence (DE 1361) which was docketed as Eleventh Circuit Case

   No. 20-14632 on December 10, 2020 (DE 1363).




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                                               ARGUMENT

           The district court should decline to address the merits of Saldana’s motion because the

   Eleventh Circuit Court of Appeals currently has jurisdiction over Saldana’s case based upon his

   recent Notices of Appeal (DE 1353; DE 1354; DE 1361; DE 1363). As the Supreme Court stated:

                   a federal district court and a federal court of appeals should not
                   attempt to assert jurisdiction over a case simultaneously. The filing
                   of a notice of appeal is an event of jurisdictional significance--it
                   confers jurisdiction on the court of appeals and divests the district
                   court of its control over those aspects of the case involved in the
                   appeal.

   Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982). The divestiture of a district

   court’s jurisdiction upon the filing of a notice of appeal, “serves to avoid the confusion and waste

   of time that would result from dual jurisdiction.” United States v. Tovar-Rico, 61 F.3d 1529, 1532

   (11th Cir. 1995). Simply put, “the filing of an appeal of virtually any sort acts to freeze all

   proceedings in the district court pending the resolution of the appeal . . . ‘[t]he district is divested

   of jurisdiction to take any action with regard to the matter except in aid of the appeal.’” Shewchun

   v. United States, 797 F.2d 941, 942 (11th Cir. 1986) (citing United States v. Hickmon, 602 F.2d

   689, 692 (5th Cir. 1979)).

           Saldana’s pro se motion for reconsideration should be denied as the district court lacks

   jurisdiction to act upon the request. Saldana, through his counsel, filed his notices of appeal of on

   November 30, 2020 and December 9, 2020 respectively. Thus, the district court was divested of

   its jurisdiction over Saldana’s underlying criminal case, Case No. 95-605, by November 30, 2020

   and certainly no later than December 9, 2020. As the appeals of the denials of Saldana’s Section

   404 motion for sentence reduction and his Section 603 motion sentence reduction were, and still

   are, pending before this Court, the district court should not, and correctly cannot, address the

   motion for reconsideration. Were the district court to address the merits of the motion, the district


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   court would have to exercise dual jurisdiction with the Eleventh Circuit Court of Appeals.

   Accordingly, the district court should decline to exercise jurisdiction of over a matter now within

   the jurisdiction of the appellate court.

           On the basis of the foregoing facts and legal authority, the United States respectfully

   requests that the district court dismiss the motion for reconsideration, or in alternative, stay the

   briefing schedule in this case until Saldana’s appeals are resolved.

           WHEREFORE, because the district court lacks jurisdiction, the motion for reconsideration

   should be dismissed.

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY

                                                 /s/Andrea G. Hoffman
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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 19, 2021, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF.


         Public defender



                                            Andrea G. Hoffman
                                          /s/
                                          Andrea G. Hoffman
                                          Assistant United States Attorney




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